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                   IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT
                   IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

 CONFECTIONERY ARTS
 INTERNATIONAL, LLC,
                 Plaintiff

              v.
                                           Civil Action No.: 3:17-cv-00108-KAD
 SUNFLOWER SUGAR ART USA,
 INC., ET AL,
              Defendants

                     MEMORANDUM IN SUPPORT OF
              JOINT MOTION TO MODIFY SCHEDULING ORDER

       Pursuant to Rule 16(b)(4) of the Federal Rules of Civil Procedure, a

scheduling order “may be modified only for good cause and with the judge’s

consent.” Good cause exists here because more time is needed for the Parties

to collaboratively sort out remaining discovery issues and ensure an orderly

production and completion of fact discovery. The trial ready date will not need to

be moved and the additional time will permit the Parties to accommodate

scheduling with the following relevant deadlines:

   •   Fact Discovery to Be Completed by 10/26/18

   •   Dispositive Motions Due by 11/21/18

       On September 21, 2018, the Parties met and conferred about the status of

the case and have jointly arrived at the proposed modification to permit the

Parties the additional time needed for scheduling purposes and for discovery

responses. The Parties’ joint proposed modified schedule will ensure that the

Court will have before it an appropriately complete factual record on which to
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decide the important issues in this case. It will also allow Defendant sufficient

time to complete its discovery and respond to Plaintiff’s discovery requests.

         As the Parties have jointly moved the Court for this modification of the

scheduling order, the Court should find that neither party will be prejudiced by

such an extension and as there is good cause, the Court should grant the

Parties’ Joint Motion to Modify the Scheduling Order.

Dated:          September 21, 2018                 Respectfully Submitted,


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